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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                SECTION “N-5"

                                                            JUDGE ENGELHARDT
                                                            MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Nunnery, et al v. Keystone RV Industries., et al,
E.D. La. Case No. 09-3871

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                                   NOTICE OF HEARING

TO:    ALL COUNSEL OF RECORD

       IT IS HEREBY ORDERED that Plaintiff’s Motion in Limine to Exclude Evidence in the

above-captioned matter is hereby set for hearing on the 28th day of April, 2010 at 11 o’clock a.m.

                                     Respectfully submitted:

                                     FEMA TRAILER FORMALDEHYDE
                                     PRODUCT LIABILITY LITIGATION

                                     BY:     s/Gerald E. Meunier
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  Case 2:07-md-01873-KDE-MBN Document 13210-2 Filed 04/07/10 Page 2 of 2




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                                      COURT-APPOINTED PLAINTIFFS’
                                      STEERING COMMITTEE
                                           ANTHONY BUZBEE, Texas # 24001820
                                           ROBERT M. BECNEL, #14072
                                           RAUL BENCOMO, #2932
                                           FRANK D’AMICO, JR., #17519
                                           MATT MORELAND, #24567
                                           LINDA NELSON, #9938
                                           DENNIS REICH, Texas #16739600
                                           MIKAL C. WATTS, Texas #20981820




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2010, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and the

notice of electronic filing by first-class mail to all counsel of record who are non-CM/ECF

participants.

                                              s/Gerald E. Meunier
                                              GERALD E. MEUNIER
